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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                   -v.-                            20 Cr. 570 (KPF)

EDDY ANTONIO ESPINAL OVALLE,                            ORDER

                          Defendant.

KATHERINE POLK FAILLA, District Judge:

      It is hereby ORDERED that whereas the Defendant, Eddy Antonio

Espinal Ovalle, USM # 64369-054, has been sentenced in the above case to a

term of time served, the U.S. Marshals are to release the defendant unless any

pending warrants, detainers or other issues are encountered.

SO ORDERED.

Dated:      October 23, 2020
            New York, New York            __________________________________
                                               KATHERINE POLK FAILLA
                                              United States District Judge
